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Antoine Rich # 370754          12/3/20


Dear Honorable judge…

I’m here writing this letter to tell you about me.


My name is Antoine Rich, Jr. Im a very smart an outgoing person. Im here to tell you that I
made a lot of mistakes but I have changed a lot, honestly. I came from a good home and
raised by a single mother. Its hard out here. Man it may seem that violence was just always
around me. I try to avoid so much to my best ability. Many people look at us black males
as a danger to the streets. Tha’s the last thing to be labeled as. I have 2 sisters, one that
just brung my first nephew. They all need their big brother/protector in their life. I’m tired
of going through these type of situations that keeps me away from my family members. I
also learned that it may not be me, but the crowd Im around. I’m only 24 yrs old, I haven’t
even lived my life yet. I’m sick of being incarservated. I have also lost 2 of my closest
friends to gun violence. I also lost my little cousin at the age of 20…that kinda woke me up.
I’m sick of losing everyone.


I hope this letter catchs your eyes and really feel my pain. The lessons I also learned from
going through this situation. I promise you I won’t let you down at all.
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